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O'S BANKRUPTCY COURT
UNITED STATES BANKRUPTCY COURT DISTRICT OF COLORADO

FOR THE DISTRICT OF COLORADO
The Honorable Judge Michael Romero

Inre: Leonid Shifrin )
XXX-XX-1450 ) Case No. 12-22722-MER
)
Debtor, ) Chapter 7
)
)
Harvey Sender, Chapter 7 Trustee )
)
Plaintiff, )
) Adversary Case No.: 14-01284-MER
VS. )
)
Michael Dupree )
Defendant. )

DEFENDANT’S MOTION FOR WITHDRAWAL OF REFERENCE

Defendant Michael Dupree (“Defendant”) hereby files this MOTION FOR
WITHDRAWAL OF REFERENCE of this Adversary Proceeding pursuant to 28 U.S.C. § 157(
d), and in support thereof state as follows:

Defendant has filed contemporaneously its Answer and Jury Demand, which is attached
as Exhibit A and incorporated herein by this reference as though fully set forth. Attached as
Exhibit B is a copy of the Complaint.

28 U.S.C. § 157(d) provides for the permissive withdrawal of reference "for cause" as
follows: "(t)he district court may withdraw, in whole or in part, any case or proceeding referred
under this section, on its own motion or on a timely motion of any party, for cause shown."

Courts consider a number of factors in determining "cause" because it is not defined in 28
U.S.C. § 157( d). These factors include: (1) analyzing whether it is a core or noncore proceeding;
(2) whether it is legal or equitable in nature; (3) whether there has been a demand for a jury trial;
and (4) judicial economy. See In Re Orion Pictures Corp., 4 F. 3d 1095 (2d Cir.1993); Hatzel
and Buehler v. Orange and Rockland Utils. 107 B.R. 34(D. Del. 1988); In Re Baker, 86 B.R. 234
(D. Colo. 1988).

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Plaintiff seeks relief in his Complaint for an alleged preferential transfer pursuant to 11
U.S.C. § 547(b). Defendant asserts that this claim is legal in nature and, therefore, under the
Seventh Amendment of the United States Constitution, the Defendant is entitled to a trial by
jury. The Seventh Amendment of the United States Constitution establishes a right to a jury trial
in common law suits. U.S. Const. Amend. VII. Fed.R.Civ.Pro.Rule 38(a), made applicable by
Bankruptcy Rule 9015(a), provides that this jury trial right “shall be preserved to the parties [in a
civil case] inviolate.”

Federal law establishes the jurisdiction of the Federal Bankruptcy Court. 28 U.S.C. § 157.
Generally, Bankruptcy courts may not conduct jury trials. Steiner v. Latimer (In re Latimer), 918
F.2d 136, 137 (10™ Cir. 1990)(per curiam); Petrino v. Eley, 146 BR. 267-268 (D. Colo.
1992)(citing In Re Kaiser Steel Corp., 911 F. 2d 380, 389-92 (10th Cir. 1990), overruled in part
on other grounds in Connecticut Nat’l Bank vy. Germain, 503 U.S.249 (1992)). Bankruptcy
judges may hear and determine "all cases under Title 11, and all core proceedings arising under
Title 11, or arising under Title 11, or rising in a case under Title 11," that are referred by a
Federal District Court. 28 U.S.C. § 157(b)(1). Section 157 provides that the District Court may
withdraw any case referred to a Bankruptcy court "for good cause shown." Petrino, 146 B.R. at
268.

Good cause may be shown if a party is entitled to a trial by jury under the Seventh
Amendment. Whether a party is entitled to a jury trial under the Seventh Amendment depends on
whether Plaintiffs action is equitable or legal in nature. Manning v. United States, 146 F.3d
808,811-12 (10th Cir. 1998)(Citing Bowdry y. Airlines, Inc., 58 F. 3d 1483, 1489 (10th Cir.
1995)). Actions at law entitle the parties to a jury, but equitable cases do not. Jd.

I. Defendant is Entitled To A Jury Trial.

In Granfinanciera v. Nordberg, 492 U.S. 33(1989), the Supreme Court considered
whether defendants who were sued by a bankruptcy trustee to recover pre-petition transfers
alleged to have been fraudulent were entitled to a jury trial. The Court noted that the Seventh
Amendment not only preserves the right to a jury trial for lawsuits to determine rights that would
have been brought in the law, rather than equity, courts of England in 1791, but also extends the
Seventh Amendment to actions brought to enforce statutory rights that are analogous to
common-law causes of action that would ordinarily have been decided at that time by the law
courts. Jd at 40-42.

The Court then summarized its approach to the question before it. First, the Court
compares the statutory action to 18th-century actions brought in the courts of England prior to
the merger of the courts of law and equity. Tull v. United States, 481 U.S. 412, 417-18
(1987)(citations omitted). Second, the Court looks to the remedy sought to determine whether it
is an equitable or a legal remedy. Jd at 421. The second stage of this analysis is more important
than the first. Jd. If, on balance, these two factors indicate that a party is entitled to a jury trial
under the Seventh Amendment, the court must decide whether Congress may assign and has

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assigned resolution of the relevant claim to a non-Article [JI adjudicative body that does not use
a jury as fact finder. Granfinanciera, 492 U.S. at 42.

I. Defendant is Entitled to a Jury Trial because an Action to Recover a
Preferential Transfer is a Legal Action

The Supreme Court has ruled that when, like here, “a party does not submit a claim
against the bankruptcy estate...the trustee can recover allegedly preferential transfers only by
filing what amounts to a legal action to recovery a monetary transfer. In those circumstances the
preference defendant is entitled to a jury trial.” Langenkamp v. C.A. Culp, 498 U.S. 42, 45
(1991)(emphasis added). The Langenkamp Court articulated the rule that a preference
defendant is entitled to a jury trial following the analysis in Granfinanciera. The same analysis
creates the same outcome here. Further, when a creditor has not filed a proof of claim, the
trustee’s preference action does not become part of the claims-allowance process subject to
resolution by the Bankruptcy Court. See generally the recent decision in Stern v. Marshall,
_US._, 131 S.Ct 2594 (2011).

As an initial matter, Defendant did not submit a claim because it is not a creditor.
Instead, Defendant is involved in this matter only because of this adversary proceeding brought
to recover an alleged preferential transfer.

Applying the principles established in Granfinanciera, here, then, leads to the same
result the United States Supreme Court reached in Langenkamp and Granfinanciera-that
Defendant as a preferential defendant, is entitled to a jury Trial. First, Plaintiff's cause of action
in 18th-century England would have been considered to be legal, rather than equitable. The
Supreme Court has recognized that, “[t]here is no dispute that actions to recover preferential or
fraudulent transfers were often brought at law in 18th-century England.” Granfinanciera, 492
USS. at 43. Therefore, the first factor weighs in favor of Defendant’s right to a jury trial.

Second, the remedy sought by Plaintiff is legal, rather than equitable. The Plaintiff seeks
recovery of an exact sum of money. As was the case in Granfinanciera, the preferences for
which Plaintiff sues are for “money payments of ascertained and definite amounts and the bill
discloses no facts that call for an accounting or other equitable relief.” Jd at 49 (internal
citations omitted). Therefore, because recovery of a preferential transfer seeks a sum certain,
Plaintiffs mode of enforcement is necessarily a legal remedy, again weighing in favor of
Defendant’s right to a jury trial.

The two principles articulated in Granfinanciera and applied in Langenkamp, then
demonstrate Defendant’s right to a jury trial.

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II. Defendant does not Consent to the Jurisdiction of the Bankruptcy Court.

Defendant does not consent to a jury trial in the bankruptcy court and has not otherwise
submitted to its jurisdiction. Defendant has also requested a jury trial. See Exhibit A. Further,
in the Tenth Circuit, a bankruptcy court generally lacks the power to conduct jury trials unless
there is mutual consent. See In Re Kaiser Steel Corp., 911 F. 2d at 389-92; Petrino 146 B.R. at
268 (D. Colo. 1992)(“Bankruptcy courts may not conduct jury trials.”). Defendant does not
consent to a jury trial in bankruptcy court.

In conclusion, Plaintiffs claim against Defendant is legal in nature, entitling Defendant
to a jury trial under the Seventh Amendment, which Defendant has requested. Therefore,
Defendant has demonstrated good cause for the withdrawal of the reference, and such
withdrawal is appropriate. See In re Centrix Fin., LLC, No. 09-cv-01542-PAB-CBS, slip op. at 2
(D. Colo. Jan. 7, 2011) (“Because bankruptcy courts may not conduct jury trials...proof of a right
to a jury trial may constitute cause for permissive withdrawal.”)(internal citations omitted); Jn re
Hardesty, 190 B.R. 653, 654 (D.Kan 1995) (“Sufficient cause for withdrawal of reference exists
where the adversary proceeding concerns matters for which there is a right to a jury trial, a
timely demand for a jury trial, and no mutual consent to trial before the bankruptcy court.”)

WHEREFORE, for the foregoing reasons, the Defendant respectfully requests that the
reference of this Adversary Proceeding to the Bankruptcy court be withdrawn, and for such other
and further relief as is just.

Respectfully submitted, 7/12/14

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Michael Dupree Sf

3751 Revere St

Denver CO 80239

303-748-1847

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CERTIFICATE OF SERVICE

I hereby certify that on this 7/12/14, a true and correct copy of Defendant’s Motion to
Withdraw Reference was placed in the U.S. Mail, first class postage prepaid, addressed as
follows:

Kristin Kanski

John Smiley

600 17th Street, Suite 1800 South
Denver, Colorado 80202
Attorneys for Plaintiff

U.S. Trustee
999 18" Street, Suite 1551
Denver, CO 80202

Me fal kl yr

Michael Dupree

